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                             UNTIED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF FLORIDA
                                   GAINESVILLE DIVISION
IN RE:
PHILLIPS, KRISTY LYNN,                                            CASE NO. 20-10149GVL1
      Debtor                                                      CHAPTER 7
_______________________________/

   ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION TO SHORTEN NOTICE AND
      OBJECTION PERIOD FOR TRUSTEE TO SELL ROPERTY OF THE ESTATE
                     TO FOURTEEN (14) DAYS (DOC. 47)

       THIS CAUSE having come before the Court on Chapter 7 Trustee’s Motion to Shorten Notice

and Objection Period for Trustee to Sell Property of the Estate (Doc. 47). This court having considered

the motion and noting that no hearing is necessary, it is

       ORDERED AND ADJUDGED as follows:

       1.     Trustee’s motion is GRANTED.

       2.     Any and all objections to the notice of intent to sell must be filed no later than 14 days

from the date of service of the Notice of Intent to Sell with Negative Notice.

                                25th
       DONE AND ORDERD on this __________           March
                                          day of ___________________ 2021.



                                                   ______________________________
                                                   KAREN K. SPECIE
                                                   United States Bankruptcy Judge

Trustee is directed to serve a copy of this order on interested parties and file a certificate of service
within three (3) days of entry of the order.

Order Prepared by:
Theresa M Bender
Copies provided to:
Debtor
Debtors’ counsel
Office of the U.S. Trustee, USTRegion21.TLECEF@usdoj.gov.
Other Interested Parties
